         Case 2:10-cr-00290-KJM Document 43 Filed 07/27/11 Page 1 of 2


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 4
     Attorney for Defendant
 5   CECILIO MENDEZ-PRIETO
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                        Case No. 2:10-cr-00290 KJM
11                  Plaintiff,

12 v.
                                                        AMENDED STIPULATION AND ORDER
13                                                      FOR CONTINUANCE OF STATUS
     CECILIO MENDEZ-PRIETO, et al.                      CONFERENCE
14
                    Defendant.
15
16
17
18                                              STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Michael Beckwith, defendant Jacob Daniel Cobb, by and through his counsel, Jeffrey
21   Staniels, and defendant Cecilio Mendez-Prieto, by and through his counsel, Erin J. Radekin, agree
22   and stipulate to vacate the date set for status conference, July 28, 2011 at 10:00 a.m., in the above-
23   captioned matter, and to continue the status conference to August 25, 2011 at 10:00 a.m., in the
24   courtroom of the Honorable Kimberly J. Mueller.
25          The reason for this request is that the parties need additional time for plea negotiations and
26   defense preparation. The Court is advised that Mr. Beckwith and Mr. Staniels concur with this
27   request and have authorized Ms. Radekin to sign this stipulation on their behalf.
28          The parties further agree and stipulate that the time period from the filing of this stipulation
     until August 25, 2011 should be excluded in computing time for commencement of trial under the
         Case 2:10-cr-00290-KJM Document 43 Filed 07/27/11 Page 2 of 2


 1   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 2   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 3   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 4   outweigh the best interests of the public and the defendant in a speedy trial.
 5          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED
 7   Dated: July 26, 2011                                     BENJAMIN WAGNER
                                                              United States Attorney
 8
                                                       By:           /s/ Michael Beckwith
 9                                                            MICHAEL BECKWITH
                                                              Assistant United States Attorney
10
11   Dated: July 26, 2011                                           /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
12                                                            Attorney for Defendant
                                                              CECILIO MENDEZ-PRIETO
13
     Dated: July 26, 2011                                           /s/ Jeffrey Staniels
14                                                            JEFFREY STANIELS
                                                              Attorney for Defendant
15                                                            JACOB DANIEL COBB
16                                                   ORDER
17          For the reasons set forth in the accompanying stipulation and declaration of counsel, the
18   status conference date of July 28, 2011 at 10:00 a.m. is VACATED and the above-captioned matter
19   is set for status conference on August 25, 2011 at 10:00 a.m. The court finds excludable time in this
20   matter through August 25, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow
21   continuity of counsel and to allow reasonable time necessary for effective defense preparation. For
22   the reasons stipulated by the parties, the Court finds that the interest of justice served by granting the
23   request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
24   3161(h)(7)(A), (h)(7)(B)(iv). The parties are advised that the court considers the August 25 date a
25   firm date that will not be further continued.
26          IT IS SO ORDERED.
27   Dated: July 27, 2011.
28                                                             UNITED STATES DISTRICT JUDGE


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